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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-02242-WJM-NYW

  TVO HOSPITALITY LLC,

         Plaintiff,

  v.

  WESTCHESTER FIRE INSURANCE COMPANY,

         Defendant.

                                   ORDER TO SHOW CAUSE

  Magistrate Judge Nina Y. Wang

         This case is before the court sua sponte pursuant to 28 U.S.C. § 636(b) and the Order

  Referring Case dated October 21, 2021. [Doc. 19]. This case was initiated on June 30, 2021, when

  Plaintiff TVO Hospitality LLC (“TVO” or “Plaintiff”) filed its Complaint in District Court, Denver

  County, Colorado, asserting claims for breach of contract and common law bad faith. See [Doc.

  3]. On August 18, 2021, Defendant Westchester Fire Insurance Company (“Westchester” or

  “Defendant”) removed the case to this court based on diversity jurisdiction pursuant to 28 U.S.C.

  § 1332(a). See [Doc. 1 (“Notice of Removal”)]. Upon removal, the Clerk of the Court advised

  the parties that “all attorneys and unrepresented parties must enter an appearance under

  D.C.COLO.LAttyR 5(a). An attorney must be an active member of this court’s bar and be in good

  standing in accordance with D.C.COLO.LAttyR 3.” [Doc. 2].

         Finding the allegations in the Notice of Removal insufficient for the court to assure itself

  of diversity jurisdiction, on August 24, 2021, the undersigned ordered Defendant to show cause

  why this case should not be remanded for lack of federal subject matter jurisdiction. [Doc. 8

  (“Order to Show Cause”)]. On September 7, 2021, Defendant responded to the Order to Show

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  Cause [Doc. 10] and the court subsequently discharged the same [Doc. 13]. On September 22, the

  court entered an Order setting a Scheduling Conference for October 27, 2021, and directed the

  Parties to file a Proposed Scheduling Order on or before October 20, 2021. [Doc. 14]. Notably,

  at that time, counsel for Plaintiff had not yet filed his entry of appearance with this court.

         On October 20, 2021, Defendant filed a document captioned “Defendant’s Request for

  Continuance of Scheduling Conference and Issuance of Order to Show Cause to Plaintiff, in Lieu

  of Submission of a Scheduling Report and Proposed Scheduling Order” (“Motion to Continue”)

  [Doc. 18]. In the Motion to Continue, Defendant represented that, on October 5, 2021, its counsel

  communicated with counsel for Plaintiff, who “confirm[ed] that Plaintiff TVO Hospitality LLC, a

  Colorado entity, had lost its ‘good standing.’ However, he insisted that circumstance would be

  ‘cured’ soon.” [Doc. 18 at 2]. Additionally, according to Defendant, “Plaintiff’s counsel also

  acknowledged that Plaintiff TVO Hospitality LLC, a Colorado entity, was not a party to the

  contracts at issue in the action for which coverage is sought, but stated he would shortly provide

  Westchester with documents establishing [P]laintiff’s relationship to TVO Hospitality LLC, a

  Delaware entity, and by extension its right to bring this suit.” [Id.]. Following the October 5

  meeting, however, Defendant stated that its counsel had been attempting to communicate with

  Plaintiff’s counsel to no avail, including that Plaintiff’s counsel has “not respond[ed] to any of

  Westchester’s counsel’s emails, did not provide any proof that Plaintiff is in good standing, and

  did not provide the promised documents which establish Plaintiff’s relationship to TVO

  Hospitality LLC, a Delaware entity, and by extension its right to bring this action.” [Id. at 3].

  Based on the foregoing representations, Defendant requested that the court (1) continue the

  October 27, 2021 Scheduling Conference, and (2) “issue an Order to Show Cause to Plaintiff to




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  adequately address these issues and explain why dismissal of this action is not appropriate.” [Id.

  at 3–4].

         On October 22, 2021, the undersigned granted in part and denied in part the Motion to

  Continue, and reset the Scheduling Conference for December 7, 2021 at 9:30 a.m. [Doc. 22]. The

  undersigned noted that, “[t]o the extent that Defendant is seeking an Order to Show Cause, attorney

  representation for Plaintiff has not been made on the record and thus it is inappropriate for the

  court to intervene and issue an Order to Show Cause on the basis of Defendant’s representation

  alone.” [Id.]. On November 10, 2021, attorney Armin Sharifi finally entered his appearance on

  behalf of Plaintiff. See [Doc. 24]. On December 1, the Parties jointly filed a proposed Scheduling

  Order in anticipation of the Scheduling Conference. See [Doc. 25]. In the Scheduling Order,

  Defendant again claims that “Plaintiff is not a party to either of the Hotel Management Agreements

  which give rise to the loss for which coverage is sought” in this case, and “to date, no documents

  establishing the relationship of those two entities have been provided to Defendant, despite

  Plaintiff’s counsel’s repeated assurances that they would be informally produced.” [Doc. 25 at 4–

  5]. On December 7, 2021, the undersigned held the telephonic Scheduling Conference where

  counsel for Defendant was present. However, counsel for Plaintiff failed to call in despite this

  court’s Order [Doc. 22]. In addition, the court’s attempt to contact counsel for Plaintiff did not

  yield his participation nor did Plaintiff’s counsel contact the court, to the best of its knowledge.

         It is well settled that corporations and similar business entities (e.g., partnerships, limited

  liability companies, etc.) must appear in this Court through a licensed attorney. See Harrison v.

  Wahatoyas, LLC, 253 F.3d 552, 556–57 (10th Cir. 2001) (“As a general matter, a corporation or

  other business entity can only appear in court through an attorney and not through a non-

  attorney corporate officer appearing pro se.”); D.C.COLO.LAttyR 5(b) (“Where the client of a



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  withdrawing attorney is a corporation, partnership, or other legal entity, the notice shall state that

  such entity may not appear without counsel admitted to the bar of this court, and that absent

  prompt appearance of substitute counsel, pleadings and papers may be stricken, and default

  judgment or other sanctions may be imposed against the entity.”). In addition, Local Rule of

  Practice 41.1 provides:

         A judicial officer may issue an order to show cause why a case should not be
         dismissed for lack of prosecution or for failure to comply with these rules, the
         Federal Rules of Civil Procedure, or any court order. If good cause is not shown
         within the time set in the show cause order, a district judge or a magistrate judge
         exercising consent jurisdiction may enter an order of dismissal with or without
         prejudice.

  D.C.COLO.LCivR 41.1.

         As mentioned above, in the Motion to Continue [Doc. 18], Defendant claimed that

  “Plaintiff’s counsel … acknowledged that Plaintiff TVO Hospitality LLC, a Colorado entity, was

  not a party to the contracts at issue in the action for which coverage is sought, but stated he would

  shortly provide Westchester with documents establishing [P]laintiff’s relationship to TVO

  Hospitality LLC, a Delaware entity, and by extension its right to bring this suit.” [Doc. 18 at 2].

  Based on Defendant’s representation at the Scheduling Conference, it appears to the court that

  Plaintiff has yet to produce this information to Defendant. Indeed, in the proposed Scheduling

  Order [Doc. 25], Defendant again claims that “Plaintiff is not a party to either of the Hotel

  Management Agreements which give rise to the loss for which coverage is sought” in this case.

  [Doc. 25 at 4]. Defendant’s assertions continue:

         Plaintiff acknowledges the Hotel Management Agreement for the subject Hilton
         Garden Inn was entered into by non-party TVO Management Services. No
         coverage is sought by TVO Management Services in this action, and any allegations
         of losses caused by or to TVO Management Services are irrelevant to the scope of
         coverage sought for TVO Hospitality LLC, a Colorado entity. … The Hotel
         Management Agreement for the subject Country Inn & Suites was entered into by
         non-party TVO Hospitality LLC, a Delaware entity. Plaintiff acknowledges that


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           TVO Hospitality LLC, a Colorado entity, is owned by ASI Capital, LLC (“ASI
           Capital”), a shareholder in the hotel entities which allegedly were mismanaged.
           Plaintiff asserts that TVO Hospitality LLC, a Colorado entity, is entitled to seek
           coverage for losses allegedly sustained by TVO Hospitality LLC, a Delaware
           entity. However, TVO Hospitality LLC, a Colorado entity, and TVO Hospitality
           LLC, a Delaware entity, have had an overlapping existence and, to date, no
           documents establishing the relationship of those two entities have been
           provided to Defendant, despite Plaintiff’s counsel’s repeated assurances that
           they would be informally produced. As a result, a significant issue as to whether
           Plaintiff is a proper party to assert claims against Westchester exists.

  [Id. at 4–5 (emphasis added)]. Plaintiff also makes certain representations in the proposed

  Scheduling Order regarding the relationship between the two TVO entities, including a reference

  to “Hotel Management Agreements with two TVO-affiliated property management companies.”

  See [id. at 3–4]. Plaintiff does not, however, directly address the relationship, if any, between

  TVO Hospitality LLC, a Colorado entity, and TVO Hospitality LLC, a Delaware entity. Further,

  in the Undisputed Facts section of the proposed Scheduling Order, the Parties agree that the

  following facts are undisputed:

           •   The Policy terms;

           •   That both Plaintiff TVO Hospitality LLC, a Colorado entity, and non-party
               TVO Hospitality LLC, a Delaware entity exist(ed);

           •   That the Hotel Management Agreement for the subject Country Inn &
               Suites was entered into by non-party TVO Hospitality LLC, a Delaware
               entity; and

           •   That the Hotel Management Agreement for the subject Hilton Garden Inn
               was entered into by non-party TVO Management Services.

  [Doc. 25 at 7 (emphasis added)]. 1




  1   Defendant also raised the issue of venue in the proposed Scheduling Order:

           Even if Plaintiff has the right to bring the stated claims, a threshold issue exists as
           to whether this Court is the correct venue for this suit. The site of the subject losses
           and witnesses to the pertinent events surrounding those losses are located in El
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           Moreover, Plaintiff’s failure to appear at the Scheduling Conference is unacceptable, and

  there is as of yet no on-the-record explanation for Plaintiff’s counsel’s failure to appear. Plaintiff

  had actual knowledge of the Scheduling Conference; counsel for Plaintiff signed the proposed

  Scheduling Order, see [Doc. 25 at 12], which identified the date and time of the Scheduling

  Conference, [id. at 1]. Further, as mentioned above, this case was removed to this court on August

  18, 2021 and yet remains substantially in the same procedural posture today as it was on the day

  it was removed. The court cannot continually delay and defer resolution of this matter to

  accommodate Plaintiff’s failure to comply with the Local Rules of Civil Practice and orders of this

  court.

           Accordingly, IT IS ORDERED that:

           (1)    On or before December 15, 2021, Plaintiff shall show cause, if any there be, why
                  this court should not recommend dismissal pursuant to D.C.COLO.LCivR 41.1 for
                  lack of prosecution and failure to appear for the December 7, 2021 Scheduling
                  Conference set by the court’s October 22, 2021 Minute Order; and

           (2)    On or before December 15, 2021, Plaintiff shall produce to Defendant the
                  documents establishing the relationship of TVO Hospitality LLC, a Colorado
                  entity, and TVO Hospitality LLC, a Delaware entity, including the “Hotel
                  Management Agreements” that Plaintiff references in the proposed Scheduling
                  Order.



  DATED: December 7, 2021                               BY THE COURT:



                                                        _______________________
                                                        Nina Y. Wang
                                                        United States Magistrate Judge


           Paso, Texas. Accordingly, Defendant reserves the right to seek transfer of this
           action to a more convenient court for this dispute.

  [Id. at 5].


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